        Case 2:18-cv-01094-AKK Document 28 Filed 10/19/18 Page 1 of 17                      FILED
                                                                                   2018 Oct-19 PM 12:13
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA
                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

STEFFANY POWELL-COKER,         )
                               )
    Plaintiff,                 )
                               )
vs.                                                     Civil Action Number
                               )
                                                        2:18-cv-01094-AKK
                               )
NORFOLK SOUTHERN
                               )
RAILWAY COMPANY, INC., et al.,
                               )
    Defendants.                )

                   MEMORANDUM OPINION AND ORDER

      Steffany Powell-Coker filed this lawsuit against Norfolk Southern Railway

Company, Inc. (“NSRC”) and several of its employees including, Todd Reynolds,

Ray Wallace, Rodney Moore, Patrick Whitehead, Steve Wilburn, Donald Craine,

Kraig Barner, Darrel Green, Stephen Weatherman, and Dale Brown (hereinafter

collectively the “Individual Defendants”), alleging retaliation in violation of the

Federal Rail Safety Act (“FRSA”), 49 U.S.C. § 20109, Count I, and an Alabama

state law claim of outrage, Count II. Doc. 16. Before the court is Defendants’

motion to dismiss Powell-Coker’s first-amended complaint. Doc. 22. The motion

is fully briefed and ripe for review, docs. 22, 23, 26, 27, and is due to be granted.

I. STANDARD OF REVIEW

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

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“[T]he pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Mere “labels and conclusions”

or “a formulaic recitation of the elements of a cause of action” are insufficient.

Iqbal, 556 U.S. at 678 (citations and internal quotation marks omitted). “Nor does

a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Id. (citing Twombly, 550 U.S. at 557).

      Federal Rule of Civil Procedure 12(b)(6) permits dismissal when a

complaint fails to state a claim upon which relief can be granted. “To survive a

motion to dismiss, a complaint must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678

(citations omitted) (internal quotation marks omitted).        A complaint states a

facially plausible claim for relief “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citation omitted). The complaint must establish “more

than a sheer possibility that a defendant has acted unlawfully.” Id.; see also

Twombly, 550 U.S. at 555 (“Factual allegations must be enough to raise a right to

relief above the speculative level.”). Ultimately, this inquiry is a “context-specific

task that requires the reviewing court to draw on its judicial experience and

common sense.” Iqbal, 556 U.S. at 679.
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II. FACTUAL BACKGROUND1

       Powell-Coker is an employee in the Birmingham office of NSRC, an

interstate railroad carrier. Doc. 16 at 2. Her division clerk and administrative

assistant job duties included “documenting employees’ discipline history and

ensuring compliance with NSRC rules and union requirements that promote rail

safety.” Id. at 3-4. Powell-Coker alleges that her supervisor, Todd Reynolds,

sexually harassed her through inappropriate explicit messages, attempts to touch

her, threats to her husband, improper monitoring, and attempts to relocate her job

to Atlanta, Georgia. Id. at 5. This harassment is the basis of her outrage claim.

       Powell-Coker’s retaliation claim is based on her contention that Defendants

retaliated against her after she reported hazardous safety conditions. Apparently,

in October 2016, Powell-Coker’s direct supervisor and then-Assistant Division

Superintendent, Ray Wallace, and Steve Wilburn purportedly instructed her to

falsely alter and/or delete employee disciplinary files, including safety-related

offenses.    Id.    Powell-Coker maintains that these repeated orders created an

ongoing safety issue that placed railroad employees at risk. Id. As a result, she

notified Darrel Green (general manager), Rodney Moore (division superintendent),

1
 “When considering a motion to dismiss, all facts set forth in the plaintiff’s complaint ‘are to be
accepted as true and the court limits its consideration to the pleadings and exhibits attached
thereto.’” Grossman v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir. 2000) (quoting GSW,
Inc. v. Long Cnty., 999 F.2d 1508, 1510 (11th Cir. 1993)). However, legal conclusions
unsupported by factual allegations are not entitled to that assumption of truth. See Iqbal, 556
U.S. at 678-79.

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and Todd Reynolds (supervisor) of these “hazardous safety” concerns. Id.                     She

also notified Donald Craine, an assistant general manager in charge of auditing the

discipline reports, and he advised that she provide him with “weekly un-altered

discipline reports.” Id.

       Allegedly, in retaliation for her complaints, in December 2016 and January

2017, NSRC placed Powell-Coker on furlough on two occasions due to “work

force reductions” and accused her of incorrectly addressing an envelope and

missing a deadline to file a disciplinary appeal for two employees. Id. at 8. In

February 2017, Stephen Weatherman (an NSRC employee) investigated Powell-

Coker’s safety hazard allegations but found that they lacked merit. Id. at 7. A

month later, Steve Wilburn (charging officer), Craig Barner (hearing officer), and

Dale Brown (assisting hearing officer) held a disciplinary hearing regarding

Powell-Coker’s alleged mishandling of the two employee’s disciplinary appeal and

ultimately issued “a letter of reprimand.” Id. at 8-9.

       Based on the furloughs and reprimand, Powell-Coker filed a complaint

under the FRSA with the Occupational Safety and Health Administration

(“OSHA”) alleging retaliation. Due to OSHA’s failure to issue a final decision on

the merits within 210 days and because the delay was not due to her bad faith,1

Powell-Coker seeks de novo review of her claim in this court. Id. at 2.

1
  The “kick-out provision” of the FRSA states: “[I]f the Secretary of Labor has not issued a final
decision within 210 days after the filing of the complaint and if the delay is not due to the bad
faith of the employee, the employee may bring an original action at law or equity for de novo
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III. DISCUSSION

      There are two components to the motion to dismiss. First, the Individual

Defendants, excluding Moore, argue that Powell-Coker’s FRSA retaliation claim,

Count I, fails to specify how each of them learned about her protected activity

and/or individually participated in the alleged adverse employment action. Also,

as to Count I, Defendants Weatherman, Brown, and Traywick argue that Powell-

Coker failed to exhaust prerequisite administrative remedies because her OSHA

complaint fails to explicitly mention them. Second, all the Defendants argue that

the outrage claim, Count II, lacks sufficient descriptions of the alleged harassment

and the severe emotional distress required for such a claim. The court will address

first the retaliation claim in Section A, followed by the outrage claim in Section B.

      A. FRSA Retaliation Claim – Count I

      The FRSA provides that “[a] railroad carrier… or an officer or employee of

such a railroad carrier... may not discharge, demote, suspend, reprimand, or in any

other way discriminate against an employee if such discrimination is due, in whole

or in part, to the employee’s lawful, good faith act done, or perceived by the

employer to have been done or about to be done[,] ... to refuse to violate or assist in

the violation of any Federal law, rule, or regulation relating to railroad safety or

security.” 49 U.S.C. § 20109(a)(2). Courts interpreting this provision note that the


review in the appropriate district court of the United States . . .” see Suber v. CSX
Transportation, Inc., No. 4:15-CV-200 (CDL), 2016 WL 10567192, at *2 (M.D. Ga. June 1,
2016) (citing 49 U.S.C. § 20109(d)(3)).
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FRSA “incorporates by reference the rules and procedures applicable to Wendell

H. Ford Aviation Investment and Reform Act for the 21st Century (“AIR–21”)

whistleblower cases.” Araujo v. New Jersey Transit Rail Operations, Inc., 708 F.3d

152, 157 (3d Cir. 2013). This framework requires that the plaintiff must show that

“the protected activity was a ‘contributing factor’ to the adverse employment

action.” Id.   (citing Allen v. Admin. Review Bd., 514 F.3d 468, 475–76 (5th

Cir.2008)). To do so, the employee must demonstrate, by a preponderance of the

evidence, that “(1) he engaged in a protected activity; (2) the railroad employer

knew or suspected that he engaged in a protected activity; (3) he suffered an

adverse action; and (4) the protected activity was a contributing factor in the

adverse action.” Mercier v. United States Dep’t of Labor, Admin. Review Bd., 850

F.3d 382, 388 (8th Cir. 2017); see also Araujo, 708 F.3d at 156–57 (same); 49

U.S.C. § 20109(b)(1)(A).

      The Individual Defendants (minus Moore) contend that Powell-Coker has

failed to sufficiently allege FRSA retaliation claims against them. Specifically,

Whitehead, Brown, and Traywich assert correctly that Powell-Coker failed to

name them as respondents in her administrative complaint to OSHA. See docs. 22

at 3, 4; 6-1; Foster v. BNSF Ry. Co., 866 F.3d 962, 966 (8th Cir. 2017) (“[T]he

text of the statute therefore makes clear that to receive relief under the FRSA,

litigants must first file a complaint with OSHA.”).      Moreover, the amended

complaint filed in this court offers little to no information regarding the
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involvement of these Defendants, if any, in the FRSA retaliation claim, 2 and there

is nothing in this record to allow the court to find that OSHA’s investigation would

have included the alleged misconduct of these three Defendants. Cf. Windom v.

Norfolk S. Ry. Co., No. 5:12-CV-345 MTT, 2013 WL 432573, at *3-4 (M.D. Ga.

Feb. 1, 2013) (denying motion to dismiss because the plaintiff’s complaint to

OSHA made it “sufficiently clear that [he] intended his OSHA complaint to be

directed at Norfolk and [the management official]” who he did not specifically

name).     Accordingly, the court finds that Powell-Coker failed to satisfy the

exhaustion requirement against these three individual Defendants, and also failed

to allege a “sufficient factual matter” that supports a “claim to relief that is

plausible on its face.” Iqbal, 556 U.S. at 678

       As for the remaining Individual Defendants, they raise multiple arguments in

favor of dismissal, including the shotgun nature of the complaint. Indeed, courts

“have little tolerance for shotgun pleadings” because they “waste scare judicial

resources” and “inexorably broaden[] the scope of discovery.” Vibe Micro, Inc. v.

Shabanets, 878 F.3d 1291, 1295 (11th Cir. 2018). “Shotgun pleadings violate Rule

8, which requires ‘a short and plain statement of the claim showing that the pleader
2
  The Amended Complaint refers to Defendant Whitehead once as “an employee of NSRC,
[who] had supervisory authority over the Plaintiff.” Doc. 16 at 3. Defendant Traywick is referred
to twice as an “employee of NSRC, at all times relevant to this Complaint [who] had authority to
investigate, discover or terminate the misconduct” and an employee who “participated in that
[outrageous sexual] conduct to some extent.” Id. at 4, 11. Defendant Brown is described as “an
employee [who] had authority to investigate” the misconduct and that he served as an “assistant
hearing officer” at her March 2017 disciplinary hearing. Id. at 4, 12. Powell-Coker never
indicates whether Whitehead, Traywick, or Brown knew of her alleged protected activity and
contributed in any way to adverse employment actions. Id.
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is entitled to relief,’ by “fail[ing] to one degree or another ... give the defendants

adequate notice of the claims against them and the grounds upon which each claim

rests.” Id. (quoting Fed. R. Civ. P. 8(a)(2)). Relevant here, Powell-Coker’s

pleadings, doc. 16 at 10, similarly “assert multiple claims against multiple

defendants without specifying which of the defendants are responsible for which

acts or omissions, or which of the defendants the claim is brought against.”

Weiland v. Palm Beach Cty. Sheriff's Office, 792 F.3d 1313, 1323 (11th Cir. 2015).

As such, the complaint is a quintessential example of shotgun pleadings, and on

this basis alone, it is due to be dismissed.

      The retaliation claim against the Individual Defendants also fails based on

the lack of specific pleadings to establish knowledge of the protected conduct

and/or involvement in the adverse conduct. Powell-Coker pleads the following

allegations in support of her claim:


   • Wallace instructed her to “falsely alter or delete the disciplinary files of

      employees, including files for safety-related offenses.” Doc. 16 at 5.

   • On another occasion, Wallace and Wilburn “again instructed [she] falsely

      alter disciplinary reports and career service records.” Id. at 7.

   • In October 2016, she reported that these instructions created a “hazardous

      safety situation” to Green, Moore and Reynolds. Id. at 6.




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   • Weatherman completed an investigation regarding her safety concerns yet

       found them to lack any merit in February 2017. Id. at 7.

   • Craine, the head of the Birmingham NSRC office’s disciplinary reports,

       allegedly told her that she should provide “weekly un-altered discipline

       reports” but failed to take “substantive action to remedy the safety issue.” Id.


Based on the pleadings, the parties generally agree that Powell-Coker engaged in a

protected activity and suffered an adverse action. The crux of their dispute rests on

whether it is plausible that these specific Defendants each “knew or suspected that

[s]he engaged in the protected activity” and whether “the protected activity was a

contributing factor in the adverse action.” Mercier, 850 F.3d at 388 (8th Cir.

2017).    In her responsive brief, Powell-Coker concedes that her claims are

speculative, noting that “evidence must be collected to determine the nature of the

involvement of each individual Defendant.” Doc. 26 at 3. She offers unsupported

assertions that individually pleading the specific retaliation elements for each

defendant imposes an unfair pleading burden which “rise[s] high above the

speculative level,” and asks the court instead to accept that a basis of liability exists

against each individual Defendant “by virtue of their position with the company

[and] their proximity to the protected activity and/or retaliatory acts.” Doc. 26 at

2-3.




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       The court declines to do so because, contrary to Powell-Coker’s contention

that she can string “some elements” and connect them to “individual Defendants”

based on indistinguishable actions that were either “actively perpetuated or

passively allowed to occur by multiple Defendants collectively,” id. at 7, the case

law requires that Powell-Coker plausibly demonstrate in her pleading that each

defendant was aware of her engagement in protected activity and the actions of

each were contributing factors in the adverse employment action. See Kuduk v.

BNSF Ry. Co., 768 F.3d 786, 791 (8th Cir. 2014). In that respect, although her

allegations establish that some of the Defendants were aware of her engagement in

protected activity, 3 Powell-Coker fails to allege how any of their actions

contributed 4 to the adverse employment actions at issue. Knowledge of protected

conduct alone is not enough to show retaliatory conduct. See Kuduk, 768 F.3d at

789 (requiring that “actual or constructive knowledge” of the protected activity be

a “contributing factor” in the adverse action).              Accordingly, as pleaded, the

retaliation claim is deficient with respect to Defendants Wallace, Wilburn, Craine,

Green, Reynolds, and Weatherman, whom Powell-Coker does not plead had any

role in the adverse conduct.
3
  Powell-Coker never alleges that she informed Wallace and Wilburn about her safety concerns.
Doc. 16 at 6-7.
4
  Powell-Coker cites to Windom, 2013 WL 432573, at *1, to argue that eleven NSRC employees
could have “acted together to violate the FRSA.” This reliance on Windom is misplaced. In
Windom, the FRSA retaliation claim survived the motion to dismiss because the plaintiff
sufficiently alleged that he reported an injury to his immediate supervisor who then informed a
managerial employee. Id. The company, acting through a manager, then repeatedly harassed and
threatened the plaintiff to provide medical documentation of this reported injury. Id. These facts
are materially different than those here.
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      Relatedly, as to Defendants Brown and Barner, the two individuals who

purportedly conducted the disciplinary hearings and issued a reprimand letter,

Powell-Coker failed to plead that they knew of her protected activity prior to

taking the adverse employment action. A plaintiff cannot prove causation absent a

showing that the decision makers had knowledge of the protected activity. See,

e.g., Singleton, 725 F. App’x at 738 (holding that retaliation claims require the

decision-makers’ awareness of the protected conduct and that the protected activity

and the adverse action were not wholly unrelated); Kuduk, 768 F.3d at 791

(holding that for FRSA retaliation purposes supervisors who make decisions to

terminate employees must have knowledge of the employee’s protected activity);

Blackorby v. BNSF Ry. Co., 849 F.3d 716, 721 (8th Cir.), cert. denied, 138 S. Ct.

264, 199 L. Ed. 2d 125 (2017) (noting for FRSA retaliation claims “the

contributing factor that an employee must prove is intentional retaliation prompted

by the employee engaging in protected activity”) (emphasis in original); Armstrong

v. BNSF Ry. Co., 880 F.3d 377, 382 (7th Cir. 2018) (noting that although FRSA’s

“contributing factor” prong is a more lenient standard, the employee must prove

the decision maker’s awareness of the protected activity and “intentional retaliation

prompted” by that awareness); Head v. Norfolk S. Ry. Co., No. 2:15-CV-02118-

RDP, 2017 WL 4030580, at *16 (N.D. Ala. Sept. 13, 2017) (“To show that [the

defendant] knew of this protected activity [for FRSA claims], it is not enough for

the plaintiff to show that someone in the organization knew of the protected
                                         11
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expression; instead, the plaintiff must show that the person taking the adverse

action was aware of the protected expression.”). Put simply, merely conducting a

disciplinary hearing is insufficient to show that Brown and Barner knew about the

protected activity and that retaliatory animus factored into their decision during the

disciplinary hearing.

       To the extent Powell-Coker believes she can uncover facts implicating these

defendants through discovery, “Rule 8 does not unlock the doors of discovery for a

plaintiff armed with nothing more than conclusions.” Iqbal, 556 U.S. at 678–79.

Rather, at the pleading stage, she is required to plead plausible facts showing she is

entitled to the relief she seeks. She has failed to plead the required knowledge of

her protected activity as to Brown and Barner, and that the other Individual

Defendants had any involvement in the adverse actions she challenges. Therefore,

the retaliation claim against the Defendants (minus Moore and NSRC) is due to be

dismissed.

       B. Outrage Claim – Count II

       The Defendants collectively challenge the outrage claim, contending that

Powell-Coker has failed to sufficiently describe the alleged harassment and that

employees are not liable for the intentional tort of a co-worker. Doc. 22 at 5. To

recover under the tort of outrage,5 a plaintiff must demonstrate that the defendant’s

5
  Alabama’s tort of outrage “is essentially equivalent to what many states refer to as ‘intentional
infliction of emotion distress.’” K.M. v. Alabama Department of Youth Services, 360 F.Supp.2d
1253, 1259 n. 4 (M.D.Ala.2005).
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conduct “(1) was intentional or reckless; (2) was extreme and outrageous; and (3)

caused emotional distress so severe that no reasonable person could be expected to

endure it.” Green Tree Acceptance, Inc. v. Standridge, 565 So. 2d 38, 44

(Ala.1990) (citing American Road Service Co. v. Inmon, 394 So. 2d 361

(Ala.1980); see also Hill v. Cundiff, 797 F.3d 948, 983 (11th Cir. 2015). Relevant

here, in light of the Alabama Supreme Court decision in Wilson,6 the proper

inquiry at this stage is whether the alleged conduct was “so extreme in degree as to

go beyond all possible bounds of decency and be regarded as atrocious and utterly

intolerable in a civilized society.” 2017 WL 6397654, at *3 (citing Potts v. Hayes,

771 So. 2d 462, 465 (Ala. 2000)). As Powell-Coker acknowledges, she must “set

forth each of the elements of the tort of outrage in her complaint, and [make] a

showing that she is entitled to relief.” Doc. 26 at 11 (citing Thomas v. Williams, 21

So. 3d 1234, 1240 (Ala. Civ. App. 2008)).

       The outrage claim fails for three reasons. First, Powell-Coker seeks to hold

the Individual Defendants, excluding Reynolds, liable because they had knowledge

of Reynolds’s sexual misconduct and “yet passively ratified the conduct by failing

to rectify it.” Doc. 16 at 12. However, the Alabama Supreme Court has routinely

found that even intentional conduct aimed to cause emotional distress fails to

6
  The Alabama Supreme Court recently decided that outrage claims are “not necessarily limited
to three categories” that the Court has commonly recognized as appropriate for such a claim: “(1)
wrongful conduct within the context of family burials; (2) an insurance agent’s coercing an
insured into settling an insurance claim; and (3) egregious sexual harassment.” Wilson v. Univ. of
Alabama Health Servs. Found., P.C., No. 1160654, 2017 WL 6397654, at *3 (Ala. Dec. 15,
2017) (citing Potts v. Hayes, 771 So. 2d 462, 465 (Ala. 2000)).
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satisfy an outrage claim.     See Thomas, 21 So. 3d at 1240 (holding that the

defendant’s intentional and malicious phone call to the plaintiff’s employer with

the intent of seeking her termination failed to allege an outrage claim at the motion

to dismiss stage); Bogus v. City of Birmingham, Alabama, No. 2:17-CV-00827-

TMP, 2018 WL 1746527, at *17 (N.D. Ala. Apr. 11, 2018) (noting that gossip,

alleged irregularities in investigations, and verbal lashing were not sufficiently

extreme and outrageous that no person could be expected to endure it). Powell-

Coker’s complaint fails to describe how the Individual Defendants, collectively or

individually, intended or should have known that passive awareness of sexual

misconduct and inaction toward Reynolds’s conduct would result in Powell-

Coker’s alleged severe emotional distress. By failing to offer further details in her

complaint, Powell-Coker’s allegations against these Individual Defendants fall

significantly short of alleging a plausible outrage claim.

      Next, as for the claim against NSRC, to the extent that Powell-Coker is

alleging vicarious liability for “acts of its directors, employees and agents,” doc. 16

at 12, her complaint, as pleaded, fails to demonstrate a “compelling circumstance”

in which “vicarious or respondeat superior liability” applies. Busby v. Truswal Sys.

Corp., 551 So. 2d 322, 327 (Ala. 1989). An employer is liable for its employees’

torts where “(1) the employee’s acts are committed in furtherance of the business

of the employer; (2) the employee’s acts are within the line and scope of his

employment; or (3) the employer participated in, authorized, or ratified the tortious
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acts.” Armstrong v. Standard Furniture, 197 Fed.Appx. 830, 834 (11th Cir. 2006).

However, Powell-Coker’s fails to allege how NSRC “participated in, authorized, or

ratified” Reynold’s conduct. It seems Powell-Coker is contending that NSRC is

vicariously liable for the acts of its employees, who purportedly “passively ratified

the conduct by failing to rectify it.” Doc. 16 at 12. But under Alabama law,

ratification requires a showing that the employer “(1) had actual knowledge of the

tortious conduct of the offending employee and that the tortious conduct was

directed at and visited upon the complaining employee; (2) that based upon this

knowledge, the employer knew, or should have known, that such conduct

constituted sexual harassment and/or a continuing tort; and (3) that the employer

failed to take ‘adequate’ steps to remedy the situation.” Stevenson v. Precision

Standard, Inc., 762 So. 2d 820, 824 (Ala. 1999); see also Murdoch v. Medjet

Assistance, LLC, 294 F. Supp. 3d 1242, 1278 (N.D. Ala. 2018) (noting that the

employer must have “notice and an opportunity to correct [the tortious] conduct

while it was a present problem”). In the absence of any pleaded fact that Powell-

Coker utilized NSRC’s complaint procedures for reporting sexual harassment to no

avail, her allegations are insufficient under any theory of liability. Accordingly,

Powell-Coker’s vicarious liability claims against NSRC and the Individual

Defendants, excluding Reynolds, 7 fail.

7
  Powell-Coker alleges that Reynolds sexually harassed in furtherance of NSRC’s business,
including “manipulating her career to force her to move to Atlanta” and “pressuring her to
perform professional favors in the office.” Doc. 16 at 11. However, as pleaded, these factual
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       Turning finally to Powell-Coker’s outrage claim against Reynolds,8

although she alleges that Reynolds sexually harassed her in several inappropriate

ways, she fails to state any casual connection to her purported emotional distress

and the severity of her mental anguish. See Bogus, 2018 WL 1746527, at *17

(noting that the plaintiff did not plausibly allege how unwanted romantic advances

rose to the level of “egregious sexual harassment” because she does not “explain in

detail” the substance of those advances to “allow the court to determine whether

the conduct was egregious, rising to a level harassment that would be atrocious and

utterly intolerable in a civilized society”). In explaining how the misconduct

affected her, Powell-Coker only “offers labels and conclusions or a formulaic

recitation of the elements of a cause of action.” Twombly, 550 U.S. at 555, 557.

By merely reciting the elements of outrage, Powell-Coker’s claim against

Reynolds similarly fails at this juncture. See Woodruff v. City of Tuscaloosa, 101

So. 3d 749, 755 (Ala. 2012) (noting that the plaintiff failed to establish that he

plausibly suffered from extreme emotional distress because he claimed he was only

angry rather than suffering from severe emotional anguish or depression); cf.


allegations suggest that Reynolds committed these acts for “his own lustful desires.” Ex parte
Atmore Community Hospital, 719 So. 2d 1190, 1192 (Ala.1998). But even Reynolds committed
these acts in furtherance of company goals, the outrage claim still fails because Powell-Coker
does not sufficiently plead the severe emotional distress prong of the claim as explained infra.
8
  Although Powell-Coker mentions that “specifically Defendant Jay Traywick participated in that
conduct to some extent,” doc. 16 at 12, her assertion lacks the required detail. The court cannot
surmise that Traywick was plausibly involved in committing sexual harassment and outrageous
behavior based on pleadings that only vaguely mention him once in a thirteen page document. Id.
Accordingly, the court will only address Powell-Coker’s outrage claim regarding details of
Reynolds’s sexual misconduct.
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Daniel Voss v. State Farm Mutual Automobile Insurance Company, No. 1:17-CV-

01465-SGC, 2018 WL 4635747, at *9 (N.D. Ala. Sept. 27, 2018) (denying motion

to dismiss because the complaint described “a gravely injured plaintiff enduring

prolonged hospitalization, repeated brain surgeries, permanent brain damage, and

rapidly mounting medical bills [and] the plaintiff was physically broken,

financially exposed, and emotionally vulnerable”).

IV. CONCLUSION AND ORDER

      For the foregoing reasons, Defendants’ Motion to Dismiss, doc. 22, is

GRANTED. Accordingly, the FRSA retaliation claims, Count I, against Patrick

Whitehead, Jay Traywick, Todd Reynolds, Ray Wallace, Steve Wilburn, Kraig

Barner, Stephen Weatherman, Donald Craine, Darrell Green, and Dale Brown, and

the Alabama state law claim of outrage, Count II, against all the Defendants are

DISMISSED WITHOUT PREJUDICE. Powell-Coker may proceed solely as to

the FRSA retaliation claim against NSRC and Rodney Moore.

      In light of this order, NSRC and Rodney Moore’s motion for extension, doc.

24, is MOOT. Their answer to Count I is due in fourteen (14) days.


      DONE the 19th day of October, 2018.


                                      _________________________________
                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE



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